Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3886 Page 1 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3887 Page 2 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3888 Page 3 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3889 Page 4 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3890 Page 5 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3891 Page 6 of 7
Case 2:09-cr-00075-LRS   ECF No. 663   filed 07/19/11   PageID.3892 Page 7 of 7
